Case 22-60246         Doc 7      Filed 06/10/22 Entered 06/10/22 23:28:49                       Desc Imaged
                                 Certificate of Notice Page 1 of 3

      INFORMATION FOR THE SECTION 341 MEETING OF CREDITORS
  This Section 341 Meeting of Creditors (“Meeting”) will be conducted
  telephonically. The telephone call in number and participant code for the Section
  341 Meeting of Creditors (“Meeting”) and instructions are set forth below.
  Dial-In Information:
  (1) You must use a touch-tone phone to participate.
  (2) Landline preferred. If you have a choice, use a landline phone, instead of a cell
  phone. Do not use a speaker phone.
  (3) Dial the call-in number and then enter the passcode, which consists of 7
  numbers and is followed by a # sign. Immediately place your phone on mute.
  (4) Make the call from a quiet area where there is as little background noise as
  possible.
  (5) As more than one Meeting will be held during this period, listen for your case to
  be called. When your case is called, unmute you phone and identify yourself.
  (6) When speaking during your case, identify yourself.
  (7) Do not put the phone on hold at any time after the call is connected.
  (8) If any party is attending the Meeting from the same location as another party,
  use separate touch-tone phones to participate.
  (9) Once the case Meeting is finished, hang up.
  (10) If you become disconnected before your Meeting is finished, call back.

                 All Chapter 11 Cases Including Cases Electing Subchapter V of Chapter 11
   Presiding Trustee Participant Code       Conference Line – Local (toll)  Conference Line (toll free)
                       4489529              517-833-3942                    877-647-7210


                                        All Chapter 7 Cases
   Presiding Chapter 7 Participant Code Conference Line – Local (toll)      Conference Line (toll free)
   Trustee
   Diane Carter        2235728          210-453-4089                        866-794-8448
   Michelle Chow       1174871          517-224-3223                        866-541-9301
   Chris Moser         8700433          203-607-6584                        877-934-5488
   Linda Payne         6221451          517-268-7095                        877-900-6448
   Mark Weisbart       6422968          203-280-5914                        877-491-1721
   Steve Zayler        7135484          517-600-9814                        866-621-9429

  Bankruptcy Documents:
  Debtors should have their bankruptcy documents available in the event there are
  questions about the information in the documents.
  (Revised 05/22)
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                                                              United States Bankruptcy Court
                                                                 Eastern District of Texas
In re:                                                                                                                 Case No. 22-60246-jps
Barnstorm Resources LLC                                                                                                Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0540-6                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Jun 08, 2022                                               Form ID: pdf400                                                           Total Noticed: 12
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 10, 2022:
Recip ID                 Recipient Name and Address
db                     + Barnstorm Resources LLC, 515 N. Fredonia, Longview, TX 75601-5308
8152144                + 10 Services Company LLC, P.O. Box 1185, Bridgeport, TX 76426-1185
8152145                + Bridgeport Fishing Tools, 218 Lake St, Bridgeport, TX 76426-6034
8152146                  Elite Hydrostatic Testing LLC, Attn. Beth Nobile, 871 Feed Store Rd, Bowie, TX 76230
8152148                + J-W Operating, Attn. Janet Peeler, 15505 Wright Brothers Dr, Addison, TX 75001-4274
8152149                + Kevin Russell, 515 N Fredonia St, Longview, TX 75601-5308
8152150                + New Tex Trucking LLC, Attn. Jason Holley, PO Box 64327, Lubbock, TX 79464-4327
8152151                + Russco Oil & Gas, Attn. Raymond Russell, 515 N Fredonia St, Longview, TX 75601-5308
8152153                + Two Sisters LLC, c/o J. Patrick Murphy, 505 Pecan St Ste 201, Fort Worth, TX 76102-4061

TOTAL: 9

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
cr                     + Email/Text: dallas.bankruptcy@LGBS.com
                                                                                        Jun 08 2022 23:44:00      Gregg County, Linebarger, Goggan, Blair &
                                                                                                                  Sampson, LLP, c/o Sherrel K. Knighton, 2777 N.
                                                                                                                  Stemmons Freeway, Suite 1000, Dallas, TX
                                                                                                                  75207-2328
8152147                   Email/Text: sbse.cio.bnc.mail@irs.gov
                                                                                        Jun 08 2022 23:44:00      Internal Revenue Service, Special Procedures Staff
                                                                                                                  - Insolvency, PO Box 7346, Philadelphia, PA
                                                                                                                  19101-7346
8152152                   Email/Text: pacer@cpa.state.tx.us
                                                                                        Jun 08 2022 23:44:00      Texas Comptroller, Bankr Section, PO Box 13528,
                                                                                                                  Austin, TX 78711-3528

TOTAL: 3


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 10, 2022                                            Signature:           /s/Gustava Winters
               Case 22-60246           Doc 7       Filed 06/10/22 Entered 06/10/22 23:28:49                                Desc Imaged
                                                   Certificate of Notice Page 3 of 3
District/off: 0540-6                                              User: admin                                                            Page 2 of 2
Date Rcvd: Jun 08, 2022                                           Form ID: pdf400                                                      Total Noticed: 12



                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 8, 2022 at the address(es) listed below:
Name                             Email Address
Jeff Carruth
                                 on behalf of Debtor Barnstorm Resources LLC jcarruth@wkpz.com
                                 jcarruth@aol.com;atty_carruth@trustesolutions.com;carruthjr87698@notify.bestcase.com

Laurie A. Spindler
                                 on behalf of Creditor Gregg County laurie.spindler@lgbs.com
                                 Dora.Casiano-Perez@lgbs.com;Julie.Wilson@lgbs.com;dallas.bankruptcy@lgbs.com

US Trustee
                                 USTPRegion06.TY.ECF@USDOJ.GOV


TOTAL: 3
